
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence imposed on or about April 28, 2014, in Okaloosa County Circuit Court case numbers 2012-CF-1050, 2012-CF-1374, 2012-CF-2116, 2012-CF-2117, 2013-CF-1030, and 2013-CF-2303, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal. If petitioner qualifies for the appointment of counsel at public expense, the lower tribunal is directed to appoint counsel to represent him in the belated appeal authorized by this opinion.
LEWIS, C.J., CLARK and MARSTILLER, JJ., concur.
